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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO



  In re: Shale Oil Antitrust Litigation        Case No. 1:24-md-03119-MLG-LF
                                               Judge Matthew L. Garcia
  This Document Relates to:

  ALL ACTIONS




            DEFENDANT DIAMONDBACK ENERGY, INC.’S
        MOTION TO DISMISS THE CONSOLIDATED COMPLAINT
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       Diamondback Energy, Inc. (“Diamondback”) is an independent oil and natural gas

company recognized as a leading innovator in the shale oil industry, known for its strategic growth,

technological advancements, and commitment to sustainable practices. Plaintiffs claim that

Diamondback conspired with the Organization of Petroleum Exporting Countries (“OPEC”) and

several of its domestic competitors to reduce shale oil production. For the reasons articulated in

Defendants’ joint motion to dismiss—which Diamondback joins in full 1—Plaintiffs’ entire

Consolidated Complaint (the “Complaint”) should be dismissed with prejudice for lack of subject

matter jurisdiction and failure to state a claim. But the Complaint’s allegations are particularly

deficient with respect to Diamondback. As such, even if it could be argued that Plaintiffs have

adequately alleged the existence of a supply reduction conspiracy, Plaintiffs have not plausibly

alleged that Diamondback was a participant in that conspiracy.

       As Plaintiffs are forced to admit, Diamondback actually increased its production of shale

oil by a rate of 19% during the alleged conspiracy period. And the Complaint, as well as the

sources it cites, demonstrate that Diamondback did not make production decisions in parallel with

its competitors, but rather pursuant to a unilateral and economically rational strategy driven by

market factors and the directives issued by Diamondback’s core shareholders. Plaintiffs attempt

to circumvent this reality by accusing Diamondback of participating in two publicly reported

meetings with OPEC officials and other Defendants and attributing inflammatory statements to an

unnamed former Diamondback employee. Neither tactic rescues Plaintiffs’ claims. The only two

meetings Diamondback is alleged to have attended led to nothing more than high-level discussions

about industry conditions. Black-letter antitrust law establishes that there is nothing conspiratorial




1
 Diamondback similarly incorporates the “Statement of Facts” provided in Defendants’ joint
motion to dismiss.


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about these kinds of exchanges. Similarly, the inclusion of an anonymous statement from a former

Diamondback “lease operator,” expressing confusion regarding the company’s production

strategy, is no lifeline for Plaintiffs’ deficient claims. The Complaint does not offer any facts to

indicate that this former “lease operator” would have been privy to Diamondback’s high-level

production strategy, and in any event this anonymous opinion says nothing to suggest that this

strategy was not in the unilateral business interest of Diamondback and it investors.

       For these reasons, and for the additional points articulated in Defendants’ joint motion to

dismiss, all claims against Diamondback should be dismissed with prejudice.

I.     The Complaint allegations show that Diamondback did not make output decisions in
       parallel with its competitors and increased its production throughout the alleged
       conspiracy period.

       At its core, the Complaint accuses Diamondback of “coordinat[ing]” and “collectively

agree[ing]” with its competitors “not to increase”—“and ultimately [to] constrain”—its “shale oil

production.” Compl. ¶¶ 1, 9. In order for these claims against Diamondback to survive dismissal,

Plaintiffs must allege “enough factual matter (taken as true)” to establish that it is “plausible”—

not merely “possib[le]”—that “an agreement was made” between Diamondback and the other

Defendants to reduce production. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556–57 (2007). A

“conspiracy is not plausible if in light of common economic experience the alleged conduct is

equally likely to result from independent action.” Llacua v. W. Range Ass’n, 930 F.3d 1161, 1175

(10th Cir. 2019). Moreover, even if it could be argued that the Complaint adequately alleges the

existence of a conspiracy, Plaintiffs still must sufficiently plead facts showing that Diamondback

was a participant in that conspiracy. See In re Travel Agent Comm’n Antitrust Litig., 583 F.3d

896, 905 (6th Cir. 2009) (holding that a complaint must “specify how [each] defendant[] [is]

involved in the alleged conspiracy”); Hinds County v. Wachovia Bank N.A., 708 F. Supp. 2d 348,



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362 (S.D.N.Y. 2010) (“Plaintiffs must allege a factual connection between each Defendant and the

alleged conspiracy . . . .”).

        Plaintiffs’ claims against Diamondback crumble under this standard. Even when all

allegations in the Complaint are accepted as true, they do not plausibly suggest that Diamondback

coordinated or agreed with its competitors to constrain its output of shale oil. As articulated in

Defendants’ joint motion to dismiss, the Complaint concedes that Diamondback did not make

output decisions in parallel with the other Defendants. Indeed, the Complaint reflects that, during

the alleged conspiracy period, Defendants pursued widely varying production strategies in

comparison to the production strategy of Diamondback. Compl. ¶ 160 & Table 1. This lack of

parallel conduct dooms Plaintiffs’ conclusory assertions that Diamondback “coordinated” its

output with its competitors, and independently necessitates the dismissal of the conspiracy claims

against Diamondback, irrespective of the Complaint’s allegations regarding purported “plus

factors.” See Park Irmat Drug Corp. v. Express Scripts Holding Co., 911 F.3d 505, 517 (8th Cir.

2018) (dismissing a Section 1 conspiracy claim because the plaintiff “fail[ed] to plausibly plead

parallel conduct” by the defendants and explaining that because of this failure, “no discussion of

any ‘plus factors’ [was] necessary”).

        Plaintiffs’ allegation that Diamondback entered into a supply reduction conspiracy with the

other Defendants is made all the more implausible by the fact that Diamondback is not even alleged

to have constrained or reduced its production. To the contrary, Plaintiffs admit that Diamondback

increased its production by 19% during the alleged conspiracy period, which was the third-highest

growth rate of all Defendants. Compl. ¶ 160 & Table 1. Unable to claim that Diamondback

reduced its production, Plaintiffs resort to insinuating that it was somehow indicative of a

conspiracy for Diamondback to further increase its production by 19% from 2021 through 2023



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after increasing its output at a blistering (and unsustainable) rate of 220% from 2017 through 2019.

Id. But it is well established that a company “reduc[ing] its” rate of “supply growth” can be an

“economically rational”—and non-conspiratorial—response to changing market conditions or

changes in a company’s internal financial conditions. In re Dynamic Random Access Memory

(DRAM) Indirect Purchaser Antitrust Litig., 28 F.4th 42, 50 (9th Cir. 2022). And Plaintiffs’ own

allegations reveal a litany of significant events and shifts in the global market for crude oil from

2021 through 2023 that would justify Diamondback’s independent decision to pursue a more

modest production increase during that time. For example, at various points in the Complaint,

Plaintiffs acknowledge the impact on the oil industry of consumer demand slowly returning to

normal after the depths of the COVID-19 pandemic (Compl. ¶ 138); market volatility and

uncertainty in the aftermath of Russia’s invasion of Ukraine in 2022 (id. ¶¶ 146–148); and the

looming threat that OPEC would take harmful retaliatory measures in response to rapid increases

in American shale oil production (id. ¶ 143(d)).       Diamondback’s response to these market

developments—to proceed with some degree of caution, while still meaningfully increasing its

production levels—was just as likely a “result [of] independent action” as it was the result of an

unlawful agreement, which renders Plaintiffs’ conspiracy claims against Diamondback

implausible. Llacua, 930 F.3d at 1175.

       The sources Plaintiffs cite in their Complaint only bolster the conclusion that

Diamondback’s production strategy served Diamondback’s own unilateral interests and thus was

not indicative of conspiracy. For example, the article Plaintiffs cite covering statements made by

Diamondback’s Chairman and CEO, Travis Stice, during a February 2022 earnings call provides




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critical context for Diamondback’s unilateral output decisions.2 Plaintiffs misleadingly cherry-

pick very small snippets of Mr. Stice’s comments—indicating that Diamondback would “continue

to be disciplined” and had “no reason to put growth before returns”—to try to imply that

Diamondback’s production strategy was irrational and the product of collusion. Compl. ¶ 149(c).

But that argument cannot be squared with the portions of Mr. Stice’s statements that Plaintiffs omit

from their Complaint. The full quotation from Mr. Stice explains that Diamondback pursued this

production strategy not as part of any alleged collusion, but at the behest of Diamondback’s

“shareholders, the owners of [the] company.” Id. Following the directives of shareholders is a

non-conspiratorial, “obvious alternative explanation” for the challenged conduct, which negates

“an inference of an agreement.” D’Augusta v. Am. Petrol. Inst., 117 F.4th 1094, 1104 (9th Cir.

2024). In any event, allegations of Mr. Stice making general statements about market conditions

or corporate strategy on an earnings call are insufficient to plausibly establish that Diamondback

participated in the claimed conspiracy. As the Ninth Circuit has explained, even in the absence of

a conspiracy, high-level executives are “likely [to] make . . . public statements about their

observations, predictions, and strategies for the future, particularly in response to investor and

analyst questions.” In re DRAM, 28 F.4th at 50.

       The cited article also reflects that Mr. Stice’s discussion about Diamondback’s 2022

production strategy was coming on the heels of a year where Diamondback had suffered losses of



2
  See Compl. ¶ 149(c) (citing Geert De Lombaerde, Diamondback to Keep Production Flat, Invest
$1.75 Billion in 2022, OIL & GAS J. (Feb. 23, 2022), https://www.ogj.com/drilling-
production/article/14234465/diamondback-to-keep-production-flat-invest-175b-in-22). By citing
and relying on this article in their Complaint, Plaintiffs have incorporated it into the pleadings by
reference, and the Court may thus consider it when ruling on Diamondback’s motion to dismiss.
See Aragón v. De Baca Cnty. Sheriff’s Dep’t, 157 F. Supp. 3d 1039, 1042 (D.N.M. 2015) (“In
addition to the facts alleged in the complaint, a court reviewing a motion to dismiss may consider
documents in the public record or incorporated by reference into the complaint.”).


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$739 million, largely due to the effects of the COVID-19 pandemic. 3 Diamondback indicated it

was concerned at that time about how its individual production levels would fit in with “the global

balance” between supply and demand, particularly since “Iran [was] expected to bring hundreds

of thousands of barrels per day to market later [that] year,” and domestic production was poised

“to increase” as well. Id. Contrary to any alleged agreement by Diamondback to constrain its

output, Mr. Stice announced during this same earnings call that Diamondback “planned to spend

$1.75–1.9 billion on capital projects” that year—a $400 million increase in Diamondback’s capital

investments from 2021.       Id. (emphasis added).     These capital investments were aimed at

increasing—not reducing—Diamondback’s production capacity, including the construction of

between 270 and 290 new oil wells. Id. Such conduct is not plausible evidence of a firm

constrained by an agreement to reduce supply. Rather, it is conduct indicative of a company

rationally pursuing its own individual interests—the opposite of conspiratorial behavior.

II.      Plaintiffs’ remaining allegations about Diamondback do nothing to salvage their
         conspiracy claim.

         Even if it could be argued that Plaintiffs have plausibly alleged that Diamondback

constrained its production, and even if it could be argued that Plaintiffs have plausibly alleged that

Diamondback did so in parallel with the other Defendants (and the Complaint does not plausibly

allege either of these points), Plaintiffs still must adequately plead “plus factors” that “raise[] a

suggestion of a preceding agreement” involving Diamondback, as opposed to “merely parallel

conduct that could just as well [have been] independent action.” Twombly, 550 U.S. at 553, 557.

None of the Complaint’s few remaining allegations specific to Diamondback constitute plus

factors raising an inference of a conspiracy involving Diamondback. First, Plaintiffs attempt to

connect Diamondback to the purported conspiracy by claiming that Mr. Stice participated in


3
    De Lombaerde, supra note 2.
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meetings with OPEC officials and executives from other Defendants. But of all the meetings

between OPEC and Defendants from 2017 through 2023 identified in the Complaint,

Diamondback is only alleged to have attended two: a dinner during the March 2019 CERAWeek

Conference, and a second dinner during the March 2023 CERAWeek Conference. Compl. ¶¶ 134,

152(b). In other words, Diamondback’s only alleged connection to OPEC—the linchpin of the

entire alleged conspiracy—is one dinner two years before Defendants allegedly “[a]ctualize[d]

[t]heir [a]greement with OPEC” in 2021 (id. at 45), and a second dinner two years after that

agreement was supposedly struck. If the numerous alleged meetings between Defendants and

OPEC from 2017 through 2023 are where the alleged agreement was purportedly entered into,

Diamondback was not a participant. See Int’l Constr. Prods. LLC v. Ring Power Corp., 2021 WL

6755717, at *8 (N.D. Fla. Dec. 23, 2021) (emphasizing that “[t]he timing of the communications”

was not indicative of participation in a conspiracy).

       Furthermore, the March 2023 dinner allegedly attended by Mr. Stice was also attended by

representatives of numerous American shale oil producers who are not alleged to have been part

of the conspiracy. Compl. ¶ 152(b) (identifying “about two dozen U.S. shale executives” in

attendance) (cleaned up). In fact, according to the article Plaintiffs cite, “[t]wo officials from the

US Department of Energy were also present” at the March 2023 dinner. 4 It is implausible that

Diamondback, the other Defendants, and OPEC would convene a meeting in furtherance of their

supply reduction conspiracy and invite representatives from the federal government to attend.




4
   Myles McCormick, et al., Oil Executives Warn of Higher Prices Now That OPEC Is Back in
Charge, FIN. TIMES (Mar. 8, 2023), https://www.ft.com/content/f1674a6e-39ae-4abb-ae2a-
40fefb58d6b9. By citing and relying on this article in their Complaint, Plaintiffs have incorporated
it into the pleadings by reference.
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       In any event, the Complaint’s characterization of the communications during the March

2019 and March 2023 dinners amounts to nothing more than a general discussion of industry trends

among market participants who were convened in Houston for the CERAWeek energy conference.

See, e.g., Compl. ¶ 134 (describing the March 2019 dinner as “a friendly conversation on current

industry issues and the immediate prospects and challenges for all” (internal quotations omitted)).

It is not alleged that either of these two dinners included any discussion about Diamondback’s

production plans—much less an agreement that Diamondback would constrain its production.

Diamondback’s alleged participation in such industry meetings, by itself, does not plausibly

support Plaintiffs’ conspiracy claims against Diamondback. See In re Musical Instruments &

Equip. Antitrust Litig., 798 F.3d 1186, 1196 (9th Cir. 2015) (“[P]articipation in trade organization

meetings where information is exchanged and strategies are advocated does not suggest an illegal

agreement.”); Plant Oil Powered Diesel Fuel Sys. v. ExxonMobil Corp., 801 F. Supp. 2d 1163,

1194 (D.N.M. 2011) (adopting the Seventh Circuit’s analysis that “a trade association is not by its

nature a walking conspiracy” (internal quotations omitted)).

       The only other allegations in the Complaint related to Diamondback consist of statements

supposedly made by an anonymous “former Senior Lease Operator” at the company. Plaintiffs

did not identify this former Diamondback employee in their initial disclosures, thereby indicating

that they do not view him as an “individual likely to have discoverable information” that Plaintiffs

“may use to support [their] claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i). It is easy to see

why. According to Plaintiffs, this unnamed former lease operator “found it somewhat weird” that

Diamondback “always maintained flat production and flat oil sales” from 2021 through 2023

despite “multiple acquisitions and growth” (Compl. ¶ 151(a) (cleaned up))—a statement that is

completely undermined by the Complaint’s concession that Diamondback increased its production



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by 19% during that period (id. ¶ 160 & Table 1). This former employee also purportedly stated

that he “was confused by this strategy,” reasoning that Diamondback “make[s] money by selling

oil” and thus should have been “ripping [] things open” when oil prices were high. Id. ¶ 151(a).

But just because this former (non-executive) employee allegedly did not understand

Diamondback’s production strategy does not mean that Diamondback’s strategy was collusive.

The Complaint offers no facts about what job functions fall within the purview of this alleged

senior lease operator, let alone any facts to suggest that this former employee had any insight into

the multitude of factors other than the price of oil that drive Diamondback’s output decisions, such

as domestic and global supply trends and directives from the company’s core investors. Simply

put, there are no facts pled in the Complaint to suggest that the alleged views of this former

employee about Diamondback’s production strategy were based on anything other than speculation

and conjecture.

       Plaintiffs also allege that this same former Diamondback employee has stated that

Diamondback “often collaborated with other Shale Oil producers, like Pioneer, to share water

supplies.” Id. ¶ 195(d). But such allegations have nothing to do with the alleged supply reduction

conspiracy, and the Complaint does not even attempt to explain how Diamondback sharing “water

supplies” with another company would be indicative of an agreement to reduce the supply of shale

oil. In fact, this type of alleged “collaboration among competitors can ‘reduce costs, facilitate

innovation, eliminate duplication of efforts and assets, and share risks that no individual member

would be willing to undertake alone.’” In re German Auto. Mfrs. Antitrust Litig., 392 F. Supp. 3d

1059, 1070 (N.D. Cal. 2019) (quoting Princo Corp. v. Int’l Trade Comm’n, 616 F.3d 1318, 1335

(Fed. Cir. 2010)). This is thus yet another example of Plaintiffs’ deficient pleadings failing to

plausibly state a conspiracy claim against Diamondback.



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         Other than the deficient allegations pertaining to the March 2019 and March 2023

CERAWeek dinners and the supposed former “senior lease operator” at Diamondback, Plaintiffs’

remaining allegations of interfirm communications do not specifically identify Diamondback.

Rather, Plaintiffs routinely make improper and generalized allegations against “Defendants” and

unnamed “shale executives.” E.g., Compl. ¶¶ 112, 115–117, 122. “This failure to identify the

involvement” of Diamondback in particular within “the alleged conspiracy” is “a basic pleading

defect” that does not move Plaintiffs any closer to stating a plausible claim against Diamondback.

City of Pontiac Police & Fire Ret. Sys. v. BNP Paribas Sec. Corp., 92 F.4th 381, 396 (2d Cir.

2024).

III.     The claims against Diamondback should be dismissed with prejudice.

         All claims against Diamondback should be dismissed with prejudice because it would be

futile to allow Plaintiffs an opportunity to amend the Complaint. See Carrete v. N.M. Racing

Comm’n, 2021 WL 6072581, at *3 (D.N.M. Dec. 23, 2021) (dismissing the plaintiff’s “claims with

prejudice” because amendment of those claims would have been “futile”). In addition to the fatal

deficiencies in the Complaint identified in Defendants’ joint motion to dismiss, the claims against

Diamondback are inherently flawed because they rest on the wholly conclusory assertion that

Diamondback entered into a supply reduction conspiracy, even though Diamondback increased

production during the alleged conspiracy period. No amendment of the Complaint could fix this

fundamental defect. Accordingly, Plaintiffs’ claims against Diamondback should be dismissed

with prejudice.

                                          CONCLUSION

         For all the foregoing reasons, and for the reasons articulated in Defendants’ joint motion to

dismiss, all claims against Diamondback should be dismissed with prejudice.



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Dated: February 24, 2025         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I, Benjamin Allison, hereby certify that on February 24, 2025, I caused the foregoing

Defendant Diamondback Energy, Inc.’s Motion to Dismiss the Consolidated Complaint to be

filed electronically through the CM/ECF system, which caused all parties or counsel of record to

be served by electronic means.



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